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                                EXHIBIT 2



                                      Exhibit 2                               000006
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                                      Exhibit 2                               000007
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                                      Exhibit 2                               000008
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                                      Exhibit 2                               000009
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                                      Exhibit 2                               000010
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                                      Exhibit 2                               000012
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                                      Exhibit 2                               000013
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                                      Exhibit 2                               000014
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                                      Exhibit 2                               000015
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                                      Exhibit 2                               000016
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                                      Exhibit 2                               000018
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                                      Exhibit 2                               000019
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                                      Exhibit 2                               000020
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                                      Exhibit 2                               000021
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                           AMENDED AND RESTATED BYLAWS
                                            OF
                               SOTERA WIRELESS, INC.,
                                 a California corporation


                                           ARTICLE I

                               SHAREHOLDERS’ MEETINGS

        Section 1.     Place of Meetings. All meetings of the shareholders shall be held at the
office of the corporation, or at such other place within or without the State of California, as may
be designated for that purpose from time to time by the Board of Directors.

       Section 2.       Annual Meetings. The annual meeting of the shareholders shall be held,
each year, at the time and on the day as follows:

       Time of Meeting: 10:00 a.m.

       Date of Meeting: March 1

       If this day shall be a legal holiday, or the Board of Directors shall otherwise elect not to
hold the annual meeting on such date, then the annual meeting shall be held on the date and at
the time determined by the Board and set forth in Notice of the Meeting given to shareholders in
accordance with Section 4 of this Article, provided such date shall be not later than sixty (60)
days after the date designated above. At the annual meeting, the shareholders shall elect a Board
of Directors, consider reports of the affairs of the corporation and transact such other business as
may properly be brought before the meeting.

        Section 3.      Special Meetings. Special meetings of the shareholders for any purpose
or purposes may be called at any time by the Board of Directors, the chairman of the Board, if
any, the president, the secretary, or an assistant secretary or by shareholders holding not less than
ten percent (10%) of the votes at the meeting. Upon request in writing to the chairman of the
Board, if any, the president, vice-president, or secretary, or by any person (other than the Board)
entitled to call a special meeting of shareholders, the officer forthwith shall cause notice to be
given to the shareholders entitled to vote that a meeting will be held at a time requested by the
person or persons calling the meeting, not less than thirty-five (35) nor more than sixty (60) days
after receipt of the request.

         Section 4.     Notice of Meetings. Whenever, shareholders are required or permitted to
take any action at a meeting, a written notice of the meeting shall be given not less than ten (10)
(or, if sent by third class mail, thirty (30)) nor more than sixty (60) days before the date of the
meeting to each shareholder entitled to vote thereat. Such notice shall state the place; date and
hour of the meeting and (1) in the case of a special meeting, the general nature of the business to
be transacted, and no other business may be transacted, or (2) in the case of the annual meeting,
those matters which the Board, at the time of the mailing of the notice, intends to present for
action by the shareholders, but, subject to the provisions of California Corporations Code Section
601(f), any proper matter may be presented at the meeting for such action. The notice of any


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meeting at which directors are to be elected shall include the names of nominees intended at the
time of the notice to be presented by Management for election.

        Notice of a shareholders’ meeting or any report shall be given either personally, by
electronic transmission, or by first-class mail, or, in the case of a corporation with outstanding
shares held of record by 500 or more persons (determined as provided in Section 605) on the
record date for the shareholders’ meeting; notice may be sent third class mail, or other means of
written communication, addressed to the shareholder at the address of such shareholder
appearing on the books of the corporation or given by the shareholder to the corporation for the
purpose of notice; or if no such address appears or is-given, at the place where the principal
executive office of the corporation is located or by publication at least once in a newspaper of
general circulation in the county in which the principal executive office is located. The notice or
report shall be deemed to have been given at the time when delivered personally, sent by
electronic transmission by the corporation, deposited in the mail or sent by other means of
written communication. An affidavit of mailing of any notice or report in accordance with
California Corporations Code Section 113, executed by the secretary, assistant secretary or any
transfer agent, shall be prima facie evidence of the giving of the notice or report.

        If any notice or report addressed to the shareholder at the address of such shareholder
appearing on the books of the corporation is returned to the corporation by the United States
Postal Service marked to indicate that the United States Postal Service is unable to deliver the
notice or report to the shareholder at such address, all future notices or reports shall be deemed to
have been duly given without further mailing if the same shall be available for the shareholder
upon written demand of the shareholder at the principal executive office of the corporation for a
period of one (1) year from the date of the giving of the notice or report to all other shareholders.

        When a shareholders’ meeting is adjourned to another time or place, except as, provided
in this Section 4, notice need not be given of the adjourned meeting if the time and place thereof
are announced at the meeting at which the adjournment is taken. At the adjourned meeting the
corporation may transact any business which might have been transacted at the original meeting.
If the adjournment is for more than forty-five (45) days or if after the adjournment a new record
date is fixed for the adjourned meeting, a notice of the adjourned meeting shall be given to each
shareholder of record entitled to vote at the meeting.

        Section 5.     Consent to Shareholders’ Meetings. The transactions of any meeting of
shareholders, however called and noticed, and wherever held, are as valid as though had at a
meeting duly held after regular call and notice, if a quorum is present either in person or by
proxy, and if, either before or after the meeting, each of the persons entitled to vote, not present
in person or by proxy, signs a written waiver of notice or a consent to the holding of the meeting
or an approval of the minutes thereof. All such waivers, consents and approvals shall be filed
with the corporate records or made a part of the minutes of the meeting. Attendance of a person
at a meeting shall constitute a waiver of notice of and presence at such meeting, except when the
person objects, at the beginning of the meeting, to the transaction of any business because the
meeting is not lawfully called or convened and except that attendance at a meeting is not a
waiver of any right to object to the consideration of matters not included in the notice if such
objection is expressly made at the meeting. Neither the business to be transacted at nor the
purpose of any regular or special meeting of shareholders need be specified in any written waiver


                                                 2.

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of notice, consent to the holding of the meeting or approval of the minutes thereof, except as
provided in California Corporations Code Section 601(f).

        Section 6.      Shareholders Acting Without a Meeting. Unless otherwise, provided in
the articles, any action which may be taken at any annual or special meeting of shareholders may
be taken without a Meeting and without prior notice, if a consent in writing, setting forth .the
action. so taken, shall be signed by the holders of outstanding shares having not less than the
minimum number of votes that would be necessary to authorize or take such action at a meeting
at which all shares entitled to vote thereon were present and voted. Unless the consents of all
shareholders entitled to vote have been solicited in writing, (1) notice of any shareholder
approval pursuant to California Corporations Code Section 310, 317, 1201 or 2007 without a
meeting by less than unanimous written consent shall be given at least ten .days before the
consummation of the action authorized by such approval, and (2) prompt notice shall be given of
the taking of any other corporate action approved by shareholders without a meeting by less than
unanimous written consent, to those shareholders entitled to vote who have not consented in
writing. Any notice required to be given pursuant to this Section 6 shall be given in accordance
with California Corporations Code Section 601(b).

       Section 7.    Quorum. Unless otherwise provided in the articles, the holders of a
majority of the shares entitled to vote, represented in person or by proxy, shall constitute a
quorum at a meeting of the shareholders.

       If a quorum is present, the affirmative vote of the majority of the shares represented and
voting at a duly held meeting at which a quorum is present (which shares voting affirmatively
also constitute at least a majority of the required quorum) shall be the act of the shareholders,
unless the vote of a greater number or voting by classes is required by the California
Corporations Code or as provided in this Section 7.

       The shareholders present at a duly called or held meeting at which a quorum is present
may continue to transact business until adjournment notwithstanding the withdrawal of enough
shareholders to leave less than a quorum, if any action taken (other than adjournment) is
approved by at least a majority of the shares required to constitute a quorum.

       In the absence of a quorum, any meeting of shareholders may be adjourned from time to
time by the vote of a majority of the shares represented either in person or by proxy, but no other
business may be transacted, except as provided in this Section 7.

        Section 8.      Voting Rights; Cumulative Voting. Every shareholder complying with
this Section 8 and entitled to vote at any election of directors may cumulate such shareholder’s
votes and give one candidate a number of votes equal to the number of directors to be elected
multiplied by the number of votes to which the shareholder’s shares are normally entitled, or
distribute the shareholder’s votes on the same principle among as many candidates as the
shareholder thinks fit.

       No shareholder shall be entitled to cumulate votes (i.e., cast for any candidate a number
of votes greater than the number of votes which such shareholder normally is entitled, to cast)
unless such candidate or candidates’ names have been placed in nomination prior to the voting



                                                3.

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and the shareholder has given notice at the meeting prior to the voting of the shareholder’s
intention to cumulate the shareholder’s votes. If anyone shareholder has given such notice, all
shareholders may cumulate their votes for candidates in nomination.

        In any election of directors, the candidates receiving the highest number of votes of the
shares entitled to be voted for them up to the number of directors to be elected by such shares are
elected.

       Section 9.    Proxies. Every person entitled to vote shares may authorize another
person or persons to act by proxy with respect to such shares. Any proxy purporting to be
executed in accordance with the provisions of the California Corporations Code shall be
presumptively valid.

       No proxy shall be valid after the expiration of eleven (11) months from the date thereof
unless otherwise provided in the proxy. Every proxy continues in full force and effect until
revoked by the person executing it prior to the vote pursuant thereto, except as otherwise
provided in this Section 9. Such revocation may be effected by a writing delivered to the
corporation stating that the proxy is revoked or by a subsequent proxy executed by the person
executing the prior proxy and presented to the meeting, or as to any meeting, by attendance at
such meeting and voting in person by, the person executing the proxy. The dates contained on
the forms of proxy presumptively determine the order of execution, regardless of the postmark
dates on the envelopes in which they are mailed.

        Any form of proxy or written consent distributed to ten (10) or more shareholders at any
such time as this corporation has outstanding shares held of record by 100 or more persons shall
afford an opportunity on the proxy or form of written consent to specify a choice between
approval and disapproval of each matter or group of related matters, intended to be acted upon at
the meeting for which the proxy is solicited or by such written consent, other than elections to
office, and shall provide, subject to reasonable specified conditions, that where the person
solicited specifies a choice with respect to any such matter the shares will be voted in accordance
therewith.

       Every form of proxy or written consent, which provides an opportunity to specify
approval or disapproval with respect to any proposal, shall also contain an appropriate space
marked “abstain,” whereby a shareholder may indicate a desire to abstain from voting his or her
shares on the proposal. A proxy marked “abstain” by the shareholder with respect to a particular
proposal shall not be voted either for or against such proposal. This corporation shall make use
of proxies in accordance with California Corporations Code Sections 604 and 705.

       Section 10. Record Date of Ownership of Shares. In order that the corporation may
determine the shareholders entitled to notice of any meeting or to vote or entitled to receive
payment of any dividend or other distribution or allotment of any rights or entitled to exercise
any rights with respect to any other lawful action, the Board may fix, in advance, a record date,
which shall not be more than sixty (60) nor less than ten (10) days prior to the date of such
meeting nor more than sixty (60) days prior to any other action.

       If no record date is fixed:



                                                4.

                                               Exhibit 2                                     000026
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               (1)    The record date for determining shareholders entitled to notice of or to
vote at a meeting of shareholders shall be at the close of business on the business day next
preceding the day on which notice is given or, if notice is waived, at the close of business on the
business day next preceding the day on which the meeting is held.

               (2)    The record date for determining shareholders entitled to give consent to
corporate action in writing without a meeting when no prior action by the Board is necessary,
shall be the day on which the first written consent is given.

               (3)     The record date for determining shareholders for any other purpose shall
be at the close of business on the day on which the Board adopts the resolution relating thereto,
or the 60th day prior to the date of such other action, whichever is later.

       A determination of shareholders of record entitled to notice of or to vote at a meeting of
shareholders shall apply to any adjournment of the meeting unless the Board fixes a new record
date for the adjourned meeting, but the Board shall fix a new record date if the meeting is
adjourned for more than forty-five (45) days from the date set for the original meeting.

        Shareholders at the close of business on the record date are entitled to notice and to vote
or to receive the dividend, distribution or allotment of rights or to exercise the rights, as the case
may be, notwithstanding any transfer of any shares on the books of the corporation after the
record date, except as otherwise provided in the articles or by agreement or in the California
Corporations Code.

        Section 11. Organization. The president shall call the meeting of the shareholders to
order and shall act as chairman of the meeting. In the event of the absence or disability of the
president, the shareholders shall appoint a chairman for such meeting. The secretary of the
company shall act as secretary of all meetings of the shareholders, but in the absence of the
secretary at any meeting of the shareholders, the presiding officer may appoint any person to act
as secretary of the meeting.

         Section 12. Inspectors of Election. In advance of any meeting of shareholders the
Board may appoint inspectors of election to act at the meeting and any adjournment thereof. If
inspectors of election are not so appointed, or if any persons so appointed fail to appear or refuse
to act, the chairman of any meeting of shareholders may, and on the request of any shareholder
or a shareholder’s proxy shall, appoint inspectors of election (or persons to replace those who so
fail or refuse) at the meeting. The number of inspectors shall be either one (1) or three (3). If
appointed at a meeting on the request of one (1) or more shareholders or proxies, the majority of
shares represented in person or by proxy shall determine whether one (1) or three (3) inspectors
are to be appointed.

        The inspectors of election shall determine the number of shares outstanding and the
voting power of each, the shares represented at the meeting, the existence of a quorum and the
authenticity, validity and effect of proxies, receive votes, ballots or consents, hear and determine
all challenges and questions in any way arising in connection with the right to vote, count and
tabulate all votes or consents, determine when the polls shall close, determine the result and do
such acts as may be proper to conduct the election or vote with fairness to all shareholders.



                                                  5.

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        The inspectors of election shall perform their duties impartially, in good faith, to the best
of their ability and as expeditiously as is practical. If there are three (3) inspectors of election, the
decision, act or certificate of a majority is effective in all respects as the decision, act or
certificate of all. Any report or certificate made by the inspectors of election is prima facie
evidence of the facts stated therein.

                                            ARTICLE II

                                 DIRECTORS; MANAGEMENT

        Section 1.     Powers. Subject to the limitation of the Articles of Incorporation, of these
Bylaws, and of the California Corporations Code relating to action required to be approved by
the shareholders (California Corporations Code Section 153), or by the outstanding shares
(California Corporations Code Section 152), the business and affairs of the corporation shall be
managed and all corporate powers shall be exercised by or under the direction of the Board. The
Board may delegate the management of the day-to-day operation of the business of the
corporation to a management company or other person provided that the business and affairs of
the corporation shall be managed and all corporate powers shall be exercised under the ultimate
direction of the Board.

        Section 2.    Number and Qualification. The authorized number of directors of the
corporation shall be not less than a minimum of four (4) nor more than a maximum of seven (7)
(which maximum number in no case shall be greater than two times said minimum, minus one).
The exact number of directors shall be set within these limits from time to time (a) by approval
of the Board of Directors, or (b) by the affirmative vote of a majority of the shares represented
and voting at a duly held meeting at which a quorum is present (which shares voting
affirmatively also constitute at least a majority of the required quorum) or by the written consent
of shareholders pursuant to Section 6 hereinabove.

        Any amendment of these bylaws changing the maximum or minimum number of
directors may be adopted only by the affirmative vote of a majority of the outstanding shares
entitled to vote; provided, an amendment reducing the minimum number of directors to less than
five (5), cannot be adopted if votes cast against its adoption at a meeting or the shares not
consenting to it in the case of action by written consent are equal to more than 16 2/3 percent of
the outstanding shares entitled to vote.

        Section 3.      Election and Tenure of Office. At each annual meeting of shareholders,
directors shall be elected to hold office until the next annual meeting.

        Each director, including a director elected to fill a vacancy, shall hold office until the
expiration of the term for which elected and until a successor has been elected and qualified.

        Section 4.     Vacancies. Unless otherwise provided in the articles, vacancies on the
Board of Directors (including vacancies created by the removal of a director) may be filled by a
majority of the directors then in office, whether or not less than a quorum, or by a sole remaining
director.




                                                   6.

                                                  Exhibit 2                                        000028
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        Any director may resign effective upon giving written notice to the chairman of the
Board, if any, the president, the secretary, or the Board of Directors of the corporation, unless the
notice specifies a later time for the effectiveness of such resignation. If the resignation is
effective at a future time, a successor may be elected to take office when the resignation becomes
effective.

        No reduction of the authorized number of directors shall have the effect of removing any
director prior to the expiration of such directors’ term of office.

        Section 5.   Removal of Directors. The entire Board of Directors or any individual
director may be removed from office as provided by California Corporations Code Sections 303
and 304.

        Section 6.      Place of Meetings. Meetings of the Board may be held at any place
within or without the state which has been designated in the notice of the meeting or, if not stated
in the notice or there is no notice, designated by resolution of the Board.

       Section 7.   Annual Organization Meetings. The annual organization meeting of the
Board of Directors shall be a regular meeting and shall be held immediately following the
adjournment of the annual meeting of the shareholders. Notice of this meeting shall not be
required.

        Section 8.    Other Regular Meetings. Regular meetings of the Board of Directors
shall be held from time to time at the corporate offices, or such other place as may be designated
by the Board of Directors. No notice need be given of such regular meetings.

        Section 9.    Special Meetings - Notices. Unless otherwise provided in the articles,
special meetings of the Board of Directors for any purpose or purposes may be called by the
Chairman of the Board, if any, or the president or any vice president or the secretary or any two
(2) directors.

        Special meetings of the Board shall be held upon four (4) days’ notice by mail or forty-
eight (48) hours’ notice delivered personally or by telephone including a voice messaging system
or by electronic transmission by the corporation. Neither the articles nor these Bylaws may
dispense with notice of a special meeting but a lack of notice will not invalidate actions taken at
a special meeting so long as the provisions of Section 10 hereof are met. A notice, or waiver of
notice, need not specify the purpose of any regular or special meeting of the Board.

        Section 10. Waiver of Notice. Notice of a meeting need not be given to any director
who signs a waiver of notice or a consent to holding the meeting or an approval of the minutes
thereof, whether before or after the meeting, or who attends the meeting without protesting, prior
thereto or at its commencement, the lack of notice to such director.

        The transactions of any meeting of the Board, however called and noticed or wherever
held, are as valid as though had at a meeting duly held after regular call and notice if a quorum is
present and if, either before or after the meeting, each of the directors not present signs a written
waiver of notice, a consent to holding the meeting or an approval of the minutes thereof. All such



                                                 7.

                                                Exhibit 2                                      000029
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waivers, consents and approvals shall be filed with the corporate records or made a part of the
minutes of the meeting.

        Section 11. Directors Acting Without a Meeting by Unanimous Written Consent.
Any action required or permitted to be taken by the Board may be taken without a meeting, if all
members of the Board shall individually or collectively consent in writing to such action. Such
written consent or consents shall be filed with the minutes of the proceedings of the Board. Such
action by written consent shall have the same force and effect as a unanimous vote of such
directors.

       Section 12. Notice of Adjournment. A majority of the directors present, whether or
not a quorum is present, may adjourn any meeting to another time and place. If the meeting is
adjourned for more than twenty-four (24) hours, notice of the adjournment to another time or
place shall be given prior to the time of the adjourned meeting to the directors who were not
present at the time of the adjournment.

      Section 13. Quorum. A majority of the authorized number of directors constitutes a
quorum of the Board for the transaction of business.

         Every act or decision done or made by a majority of the directors present at a meeting
duly held at which a quorum is present is the act of the Board, subject to California Corporations
Code Sections 310 and 317(e). A meeting at which a quorum is initially present may continue to
transact business notwithstanding the withdrawal of directors, if any action taken is approved by
at least a majority of the required quorum for such meeting.

        The provisions of this Section 13 apply also to committees of the Board and incorporators
and action by such committees and incorporators, mutatis mutandis.

       Section 14. Use of Conference Telephone. Members of the Board may participate in
a meeting through use of conference telephone or similar communications equipment, so long as
all members participating in such meeting can hear one another.

        Section 15. Compensation of Directors. Directors, as such, shall not receive any
stated salary for their services, but by resolution of the Board a fixed sum and expense of
attendance, if any, may be allowed for attendance at each annual, regular, and/or special meeting
of the Board; provided that nothing herein contained shall be construed to preclude any director
from serving the company in any other capacity and receiving compensation therefor.

        Section 16. Executive Committee. An executive committee may be appointed by
resolution passed by a majority of the whole Board. The executive committee shall be composed
of members of the Board, and shall have such powers as may be expressly delegated to it by
resolution of the Board of Directors. It shall act only in the intervals between meetings of the
Board and shall be subject at all times to the control of the Board of Directors.




                                                8.

                                              Exhibit 2                                     000030
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                                           ARTICLE III

                                            OFFICERS

        Section 1.     Officers. The officers of the corporation shall be a president, a secretary
and a chief financial officer (treasurer). The corporation may also have, at the discretion of the
Board of Directors, a chairman of the Board, one or more vice presidents, one or more assistant
secretaries, one or more assistant treasurers, and such other officers as may be appointed in
accordance with the provisions of Section 3 of this Article III. Any number of offices may be
held by the same person.

        Section 2.   Election. The officers of the corporation, except such officers as may be
appointed in accordance with the provisions of Section 3 or Section 5 of this Article III, shall be
chosen annually by the Board of Directors, and each shall hold office until they shall resign or
shall be removed or otherwise disqualified to serve, or their successors shall be elected and
qualified.

        Section 3.     Subordinate Officers. The Board of Directors may appoint such other
officers as the business of the corporation may require, each of whom shall hold office for such
period, have such authority and perform such duties as are provided in these Bylaws or as the
Board of Directors may from time to time determine.

        Section 4.   Removal and Resignation. Any officer may be removed, either with or
without cause, by a majority of the directors at the time in office, at any regular or special
meeting of the Board; or, except in case of an officer chosen by the Board of Directors, by any
officer upon whom such power of removal may be conferred by the Board of Directors.

        Any officer may resign at any time by giving written notice to the corporation. Any such
resignation shall take effect at the date of the receipt of such notice or at any later time specified
therein; and, unless otherwise specified therein, the acceptance of such resignation shall not be
necessary to make it effective.

      Section 5.      Vacancies. A vacancy in any office because of death, resignation,
removal, disqualification or any other cause shall be filled in the manner prescribed in these
Bylaws for regular appointments to such office.

       Section 6.       Chairman of the Board. The Chairman of the Board, if there shall be
such an officer, shall, if present, preside at all meetings of the Board of Directors, and exercise
and perform such other powers and duties as may be from time to time assigned to such officer
by the Board of Directors or prescribed by these Bylaws.

        Section 7.     President. Subject to such supervisory powers, if any, as may be given by
the Board of Directors to the Chairman of the Board, if there be such an officer, the president
shall be the chief executive officer of the corporation, shall be subject to the control of the Board
of Directors, and shall have general supervision, direction and control of the business and
officers of the corporation. The president shall preside at all meetings of the Board of Directors.
The president shall be ex officio a member of all the standing committees, including the
executive committee, if any, and shall have the general powers and duties of management


                                                  9.

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usually vested in the office of president of a corporation, and shall have such other powers and
duties as may be prescribed by the Board of Directors or these Bylaws.

        Section 8.      Vice-Presidents. In the event the Board shall elect one or more vice
presidents, in the absence or in the event of the disability of the president, the vice presidents, in
order of their rank as fixed by the Board of Directors, or if not ranked, the vice president
designated by the Board of Directors, shall perform all the duties of the president, and when so
acting shall have all the powers of, and be subject to all the restrictions upon the president. The
vice presidents shall have such other powers and perform such other duties as from time to time
may be prescribed for them respectively by the Board of Directors or these Bylaws.

        Section 9.     Secretary. The secretary shall keep, or cause to be kept, a book of
minutes at the principal office or such other place as the Board of Directors may order, of all
meetings of directors and shareholders, with the time and place of holding, whether regular or
special, and if special, how authorized, the notice thereof given, the names of those present at
directors’ meetings, the number of shares present or represented at shareholders’ meetings and
the proceedings thereof.

        The secretary shall keep, or cause to be kept, at the principal office or at the office of the
corporation’s transfer agent, a share register, or duplicate share register, showing the names of
the shareholders and their addresses; the number and classes of shares held by each; the number
and date of certificates issued for the same; and the number and date of cancellation of every
certificate surrendered for cancellation.

       The secretary shall give, or cause to be given, notice of all the meetings of the
shareholders and of the Board of Directors required by the Bylaws or by law to be given, and
shall keep the seal of the corporation in safe custody, and shall have such other powers and
perform such other duties as may be prescribed by the Board of Directors or by these Bylaws.

       Section 10. Chief Financial Officer. The chief financial officer shall keep and
maintain, or cause to be kept and maintained, adequate and correct accounts of the properties and
business transactions of the corporation, including accounts of its assets, liabilities, receipts,
disbursements, gains, losses, capital, surplus and shares. Any surplus, including earned surplus,
paid-in surplus and surplus arising from a reduction of stated capital, shall be classified
according to source and shown in a separate account. The books of account shall at all
reasonable times be open to inspection by a director.

        The chief financial officer shall deposit all moneys and other valuables in the name and
to the credit of the corporation with such depositaries as may be designated by the Board of
Directors, shall disburse the funds of the corporation as may be ordered by the Board of
Directors, shall render to the president and directors, whenever they request it, an account of all
transactions performed as chief financial officer and of the financial condition of the corporation,
and shall have such other powers and perform such other duties as may be prescribed by the
Board of Directors or these Bylaws.

                                           ARTICLE IV




                                                 10.

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   INDEMNIFICATION OF DIRECTORS, OFFICERS, EMPLOYEES AND AGENTS
                      LIABILITY OF DIRECTORS

        The corporation shall, to the maximum extent permitted by the California Corporations
Code, indemnify each of its agents against expenses, judgments, fines, settlements and other
amounts actually and reasonably incurred in connection with any proceeding arising by reason of
the fact any such person is or, was an agent of the corporation. For purposes of this Article IV, an
“agent” of the corporation includes any person who is or was a director, officer, employee or
other agent of the corporation, or is or was serving at the request of the corporation as a director,
officer, employee or agent of another corporation, partnership, joint venture, trust or other
enterprise, or was a director, officer, employee or agent of a corporation which was a predecessor
corporation of the corporation or of another enterprise at the request of such predecessor
corporation. The liability of the directors the corporation for monetary damages shall be
eliminated to the fullest extent permitted under California law.

                                           ARTICLE V

                CORPORATE RECORDS AND REPORTS -- INSPECTION

        Section 1.     Records. The corporation shall keep adequate and correct books and
records of account and shall keep minutes of the proceedings of its shareholders, Board and
committees of the Board and shall keep at its principal executive office, or at the office of its
transfer agent or registrar, a record of its shareholders, giving the names and addresses of all
shareholders and the number and class of shares held by each. Such minutes shall be kept in
written form. Such other books and records shall be kept either in written form or in any other
form capable of being converted into written form.

       Section 2.      Waiver of California Corporations Code Section 1501.                    The
requirement that the Board cause an annual report to be sent to the shareholders not later than
one hundred twenty (120) days after the close of the fiscal year is hereby expressly waived so
long as this corporation has less than one hundred (100) holders of record of its shares; provided,
however, nothing contained herein shall be interpreted as prohibiting the Board of Directors from
issuing annual or other periodic reports to the shareholders of the corporation as it deems
appropriate.

        Section 3.    Inspection of Bylaws, Lists, Books, Records. The shareholders and
other persons described in California Corporations Code Sections 213, 1600, and 1601 shall and
do have the rights accorded them in said Sections regarding these Bylaws, as the same may be
amended from time to time, a record and list of the shareholders’ names and addresses and
shareholdings, and the accounting books, records, and minutes of proceedings of the
shareholders, the Board, and committees of the Board. The directors and other persons described
in California Corporations Code Section 1602 shall and do have the rights accorded them in said
Section regarding all books, records, and documents of every kind and regarding inspection of
the physical properties of the corporation as well as any subsidiary corporations, domestic or
foreign.




                                                11.

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        Section 4.     Checks, Drafts, Indebtedness. All checks, drafts or other orders for
payment of money, notes or other evidences of indebtedness, issued in the name of or payable to
the corporation, shall be signed or endorsed by such person, or persons and in such manner as
shall be determined from time to time by resolution of the Board of Directors.

        Section 5.      Contracts, Other Instruments -- How Executed. The Board of
Directors, except as in these Bylaws otherwise provided, may authorize any officer or officers, or
agent or agents, to enter into any contract or execute any instrument in the name of and on behalf
of the corporation. Such authority may be general or confined to specific instances. Unless so
authorized by the Board of Directors, no officer, agent or employee shall have any power or
authority to bind the corporation by any contract or engagement, or to pledge its credit or to
render it liable for any purpose or for any amount.

         Section 6.     Annual Statement. This corporation shall, within ninety (90) days after
the filing of its original Articles of Incorporation and annually thereafter during the applicable
filing period (as defined in California Corporations Code Section 1502(c)) in each year, file, on a
form prescribed by the California Secretary of State, a statement containing: (1) the presently
authorized number of its directors; (2) the names and complete business or residence addresses
of its incumbent directors; (3) the names and complete business or residence addresses of its
chief executive officer, secretary and chief financial officer; (4) the street address of its principal
executive office; (5) if the address of its principal executive office is not in this state; the street
address of its principal business office in this state, if any; and (6) a statement of the general type
of business which constitutes the principal business activity of the corporation.

        The statement shall also designate, as the agent of such corporation for the purpose of
service of process, a natural person residing in this state or corporation which has complied with
California Corporations Code Section 1505 and whose Capacity to act as such agent has not
terminated. If a natural person is designated, the statement shall set forth such person’s complete
business or residence address. If a corporate agent is designated, no address for it shall be set
forth.

        Section 7.     Legend Condition. In the event any shares of this corporation are issued
pursuant to a consent, permit or exemption therefrom requiring the imposition of a legend
condition, the person or persons issuing or transferring said shares shall cause said legend to
appear “on the certificate” (as defined in California Corporations Code Section 174) and on the
stub relating thereto in the stock record book and shall not be required to transfer any shares
unless an exemption regarding such transfer exists or until an amendment to such consent or
permit, or a new consent or permit, be first issued authorizing such transfer. To the extent
applicable, the statements set forth in California Corporations Code Section 418(a) shall also
appear “on the certificate” (as defined in California Corporations Code Section 174) and on the
stub relating thereto.

        Section 8.     Representation of Shares of Other Corporations. The chairman of the
board, if any, the President, or any vice-president, or any other person authorized by resolution
of the Board of Directors by any of the foregoing designated officers, is authorized to vote on,
behalf of the corporation any and all shares of any other corporation or corporations, foreign or
domestic, standing in the name of this corporation. The authority herein granted to said officers


                                                 12.

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to vote or represent on behalf of this corporation, any and all shares held by this corporation in
any other corporation or corporations may be exercised by any such officer in person or by any
person authorized to do so by proxy duly executed by said officer.

                                          ARTICLE VI

                                      CORPORATE SEAL

        The corporate seal shall be circular in form, and shall have inscribed thereon the name of
the corporation, the date of its incorporation, and the word “California”.

                                         ARTICLE VII

                                AMENDMENTS TO BYLAWS

       Section 1.  By Shareholders. New Bylaws may be adopted or these Bylaws may be
repealed or amended by approval of the outstanding shares (California Corporations Code
Section 152).

       Section 2.   Powers of Directors. Subject to the right of the shareholders to adopt,
amend or repeal Bylaws, as provided in Section 1 of this Article VIII, the Board of Directors
may adopt; amend or repeal any of these Bylaws other than a Bylaw or amendment thereof
changing the authorized number of directors as provided in California Corporations Code
Section 212(a).

        Section 3.     Record of Amendments. Whenever an amendment or new Bylaw is
adopted, it shall he copied in the book of Bylaws with the original Bylaws, in the appropriate
place. If any Bylaw is repealed, the fact of repeal with the date of the meeting at which the repeal
was enacted or written assent was filed shall be stated in said book.

                                         ARTICLE VIII

                 AMENDMENTS TO ARTICLES OF INCORPORATION

       The Articles of Incorporation of this corporation may be amended only in accordance
with chapter 9, Division 1 of Title 1 of the California Corporations Code commencing with
Section 900.

                                          ARTICLE IX

                                 RIGHT OF FIRST REFUSAL

        Section 1.    Right of First Refusal. No shareholder shall sell, assign, pledge, or in
any manner transfer any of the shares of capital stock of the corporation or any right or interest
therein, whether voluntarily or by operation of law, or by gift or otherwise, except by a transfer
which meets the requirements hereinafter set forth in this bylaw:




                                                13.

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                (a)    If the shareholder desires to sell or otherwise transfer any of his shares of
stock subject to the right of first refusal as provided above, then the shareholder shall first give
written notice thereof to the corporation. The notice shall name the proposed transferee and state
the number of shares to be transferred, the proposed consideration, and all other terms and
conditions of the proposed transfer.

               (b)     For thirty (30) days following receipt of such notice, the corporation shall
have the option to purchase all or a portion of the shares specified in the notice at the price and
upon the terms set forth in such notice. In the event of a gift, property settlement or other
transfer in which the proposed transferee is not paying the full price for the shares, and that is not
otherwise exempted from the provisions of this Section 1, the price shall be deemed to be the fair
market value of the stock at such time as determined in good faith by the Board of Directors. In
the event the corporation elects to purchase all of the shares or a portion of the shares, it shall
give written notice to the transferring shareholder of its election and settlement for said shares
shall be made as provided below in paragraph (d).

               (c)     The corporation may assign its rights hereunder.

                (d)    In the event the corporation and/or its assignee(s) elect to acquire any of
the shares of the transferring shareholder as specified in said transferring shareholder’s notice,
the Secretary of the corporation shall so notify the transferring shareholder and settlement
thereof shall be made in cash within thirty (30) days after the Secretary of the corporation
receives said transferring shareholder’s notice; provided that if the terms of payment set forth in
said transferring shareholder’s notice were other than cash against delivery, the corporation
and/or its assignee(s) shall pay for said shares on the same terms and conditions set forth in said
transferring shareholder’s notice.

                (e)    In the event the corporation and/or its assignees(s) do not elect to acquire
all of the shares specified in the transferring shareholder’s notice, said transferring shareholder
may, within the sixty-day period following the expiration of the option rights granted to the
corporation and/or its assignees(s) herein, transfer the shares specified in said transferring
shareholder’s notice which were not acquired by the corporation and/or its assignees(s) as
specified in said transferring shareholder’s notice. All shares so sold by said transferring
shareholder shall continue to be subject to the provisions of this bylaw in the same manner as
before said transfer.

               (f)     Anything to the contrary contained herein notwithstanding, the following
transactions shall be exempt from the provisions of this bylaw:

                       (1)    A shareholder’s transfer of any or all shares held either during such
shareholder’s lifetime or on death by will or intestacy to such shareholder’s immediate family or
to any custodian or trustee for the account of such shareholder or such shareholder’s immediate
family or to any limited partnership of which the shareholder, members of such shareholder’s
immediate family or any trust for the account of such shareholder or such shareholder’s
immediate family will be the general or limited partner(s) of such partnership. “Immediate
family” as used herein shall mean spouse, lineal descendant, father, mother, brother, or sister of
the shareholder making such transfer.


                                                 14.

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                        (2)    A shareholder’s bona fide pledge or mortgage of any shares with a
commercial lending institution, provided that any subsequent transfer of said shares by said
institution shall be conducted in the manner set forth in this bylaw.

                        (3)    A shareholder’s transfer of any or all of such shareholder’s shares
to the corporation or to any other shareholder of the corporation.

                       (4)    A shareholder’s transfer of any or all of such shareholder’s shares
to a person who, at the time of such transfer, is an officer or director of the corporation.

                         (5)    A corporate shareholder’s transfer of any or all of its shares
pursuant to and in accordance with the terms of any merger, consolidation, reclassification of
shares or capital reorganization of the corporate shareholder, or pursuant to a sale of all or
substantially all of the stock or assets of a corporate shareholder.

                        (6)     A corporate shareholder’s transfer of any or all of its shares to any
or all of its shareholders.

                        (7)     A transfer by a shareholder which is a limited or general
partnership, limited liability company or corporation to the partners, retired partners, members,
retired members, shareholders and affiliates of such shareholder, and the estates and family
members of any such partners, retired partners, members or retired members and any trusts for
the benefit of any of the foregoing persons.

        In any such case, the transferee, assignee, or other recipient shall receive and hold such
stock subject to the provisions of this bylaw, and there shall be no further transfer of such stock
except in accord with this bylaw.

               (g)    The provisions of this bylaw may be waived with respect to any transfer
either by the corporation, upon duly authorized action of its Board of Directors, or by the
shareholders, upon the express written consent of the owners of a majority of the voting power of
the corporation (excluding the votes represented by those shares to be transferred by the
transferring shareholder). This bylaw may be amended or repealed either by a duly authorized
action of the Board of Directors or by the shareholders, upon the express written consent of the
owners of a majority of the voting power of the corporation.

                (h)    Any sale or transfer, or purported sale or transfer, of securities of the
corporation shall be null and void unless the terms, conditions, and provisions of this bylaw are
strictly observed and followed.

                (i)    The foregoing right of first refusal shall terminate on upon the date
securities of the corporation are first offered to the public pursuant to a registration statement
filed with, and declared effective by, the United States Securities and Exchange Commission
under the Securities Act of 1933, as amended.

                (j)     The certificates representing shares of stock of the corporation shall bear
on their face the following legend so long as the foregoing right of first refusal remains in effect:



                                                 15.

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                     “THE SHARES REPRESENTED BY THIS CERTIFICATE
                     ARE SUBJECT TO A RIGHT OF FIRST REFUSAL
                     OPTION IN FAVOR OF THE CORPORATION AND/OR
                     ITS ASSIGNEE(S), AS PROVIDED IN THE BYLAWS OF
                     THE CORPORATION.”




                                          16.

                                      Exhibit 2                               000038
